Case 1:22-cv-00058-CRC Document 48-8 Filed 09/05/23 Page 1 of 9




            EXHIBIT F
Case 1:22-cv-00058-CRC Document 48-8 Filed 09/05/23 Page 2 of 9
Case 1:22-cv-00058-CRC Document 48-8 Filed 09/05/23 Page 3 of 9
Case 1:22-cv-00058-CRC Document 48-8 Filed 09/05/23 Page 4 of 9
Case 1:22-cv-00058-CRC Document 48-8 Filed 09/05/23 Page 5 of 9
Case 1:22-cv-00058-CRC Document 48-8 Filed 09/05/23 Page 6 of 9
Case 1:22-cv-00058-CRC Document 48-8 Filed 09/05/23 Page 7 of 9
Case 1:22-cv-00058-CRC Document 48-8 Filed 09/05/23 Page 8 of 9
Case 1:22-cv-00058-CRC Document 48-8 Filed 09/05/23 Page 9 of 9
